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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF NEW YORK

                                               )
CORNING INCORPORATED,                          )
                                               )
         Plaintiff                             )   CIVIL ACTION NO.: 6: 18-cv-06866
                                               )
V.                                             )
                                               )
DONGGUAN JINGBO                                )
OPTOELECTRONICS CO., LTD.,                     )
                                               )
         Defendant
~~~~~~~~~~~~~~~
                                               )


           DEFENDANT DONGGUAN JINGBO OPTOELECTRONICS CO., LTD ' S
              MEMORANDUM IN SUPPORT OF ITS MOTION TO DISMISS
                 PURSUANT TO FED. R. CIV. P. 12(b)(5) AND 12(b)(6)

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     Dated: March 16, 2020
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       INTRODUCTION

       Dismissal of Plaintiff Corning Incorporated’s (“Corning’s”) Complaint against Defendant

Dongguan Jingbo Optoelectronics Co., Ltd. (“Jingbo”) is warranted for the following two

reasons: (1) Corning failed to state a claim upon which relief may be granted; and (2) Corning

did not properly serve Jingbo with the Complaint.

       First, Corning alleges that Jingbo breached the parties’ June 3, 2017 General Commercial

Framework Agreement (“Agreement”)1 by purportedly: (1) misusing “Corning Technology,” as

defined in the Agreement, to finish non-Corning glass; and (2) failing to allow Corning to review

and inspect Jingbo’s facilities. But those claims are based on threadbare allegations, faulty logic,

and misinterpretations of the Agreement.

       Corning’s allegations that Jingbo misused Corning’s technology are threadbare and

insufficient. Corning pled no factual allegations regarding Jingbo’s actual process for finishing

non-Corning glass. Corning alleges that it tested glass that Jingbo finished for a third party

(Vivo) that purportedly shows that the glass is a “glass-based article” with certain properties

recited in a Corning patent claim. D.I. 1 at ¶ 10. But Corning’s logic is flawed. The Agreement

defines “Corning Technology” in terms of trade secrets, know-how, processes, formulae, and

other teachings used to manufacture glass with certain properties. Ex. A2 at §§ 1(c)–(h)

(emphasis added). Nowhere is “Corning Technology” defined in terms of a glass-based article

having certain properties. Moreover, Corning failed to plead any facts suggesting that any

property recited in the patent claim is unique to glass made using or can only be obtained by

using “Corning Technology.” Indeed, Corning did not even plead facts from which that



1
  An unredacted copy of the Agreement is attached as Exhibit A to the Declaration of Keith A.
Zullow filed in support of this motion (the “Zullow Declaration”).
2
  “Ex. __” cites are exhibits attached to the Zullow Declaration.
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conclusion could be reasonably inferred, and therefore failed to state a claim for breach of

contract.

       Corning also did not allege facts sufficient to support its breach of contract claim based

on the Agreement’s inspection provision. Indeed, Corning’s allegations that Jingbo refused to

allow an inspection are unsupported. Moreover, Corning’s allegations imply that the Agreement

grants Corning free rein to inspect Jingbo facilities, including inspection of Jingbo’s work for

third parties, for misuse or unauthorized disclosure of Corning Technology. It does not. The

Agreement allows Corning to “review and inspect” whether Jingbo satisfactorily adopted and

implemented steps to prevent “misuse” and/or unauthorized “disclosure” of “Corning

Technology”: “Corning and its representatives shall have the right to review and inspect

[Jingbo’s] operations and security procedures to ensure that Finisher [(i.e., Jingbo)] is using

reasonably prudent and diligent efforts to protect Corning Technology from further disclosure

and/or misuse.” Ex. A at § 3(b)(v). Because Corning sought a much broader inspection than

permitted by the Agreement, Corning has failed to sufficiently allege breach of contract based on

the inspection provision.

       For these reasons and those explained below, the Complaint fails to meet the notice

pleading requirements of Federal Rule of Civil Procedure 8(a) and applicable Supreme Court

precedent in Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) and Ashcroft v. Iqbal, 556 U.S.

662 (2009), and should be dismissed under Rule 12(b)(6) for failure to state a claim upon which

relief may be granted.

       Second, Corning’s service of the Complaint by e-mail was deficient. Rule 4(f)(3) allows

service “by other means not prohibited by international agreement, as the court orders.”




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However, e-mail service is inconsistent with the methods enumerated in the Hague Convention,3

to which the United States and China are parties. Therefore, Corning’s service of the Complaint

violates Federal Rule of Civil Procedure 4(f)(3) and the Complaint should be dismissed under

Rule 12(b)(5) for insufficient service of process.

       STATEMENT OF FACTS

               The Agreement Defines “Corning Technology” to Refer To Know-How,
               Processes and Formulae, Not Products

       On June 3, 2017, Corning and Jingbo entered into the General Commercial Framework

Agreement. Ex. A at 1. Under the Agreement, Jingbo agreed to perform finishing services using

Corning Technology to strengthen glass sold by Corning, known as Gorilla Glass. Id. Jingbo

also agreed that Corning Technology would “only be practiced on Gorilla Glass purchased by

[Jingbo] from Corning.” Id. at § 3(b)(ii).

       The Agreement defines the term “Corning Technology” as follows: “Corning

Technology means Corning Know-How, Corning’s Improved Impact Resistance Technology,

Corning’s Improved Component Level Impact Resistance/Drop Performance Technology,

                                                                      , as defined above.” Id. at

§ 1(h). The definition of each term embedded in the definition of “Corning Technology” uses

the common refrain of “know-how, processes, formulae, and other teachings” related to

processing/finishing glass:

               “Corning Know-How” means “know-how, processes, formulae,
               and other teachings owned, developed or licensed by Corning
               that may be used to perform certain services required to provide a
               finished glass product.” Id. at § 1(c) (emphasis added).



3
 “Hague Convention” refers to the Hague Convention on the Service Abroad of Judicial and
Extrajudicial Documents in Civil or Commercial Matters, Nov. 15, 1965, 20 U.S.T. 361, T.I.A.S.
No. 6638.
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               "Improved Impact Resistance Technology" shall mean
               Coming 's proprietaiy technology, including trade secrets, know-
               how, processes, formulae, and other teachings, to improve
               component level impact resistance. Id. at § 1( d) (emphasis added).




       The Agreement also defines "Coming's Improved Component Level Impact

Resistance/Drop Perfonnance Technology" using the saine common refrain about Coming's

know-how, processes, fo1mulae, and other teachings: "Coming's Improved Component Level

Impact Resistance/Drop Perfonnance Technology shall mean Coming's proprieta1y technology,

including trade secrets, know-how, processes, formulae, and other teachings, related [sic; to]

glass aiiicles which exhibit improved component level impact resistance/drop perfonnance." Id.

at§ l (e) (emphasis added). Coming acknowledges that the definition contained a typo and

encompasses only Coming 's know-how, processes, fo1mulae and other teachings related to

glass aiiicles, and not the glass aiiicles themselves, quoting the definition as follows: "Coming's

proprietaiy technology, including trade secrets, know-how, processes, fo1mulae, and other

teachings, related [to] glass aiticles which exhibit improved component level impact

resistance/drop perfo1mance." D.I. 1 at ~ 59 (quoting Ex. A at§ l (e) (emphasis added)).

       When the Agreement was entered, Coming had a number of patents and applications

claiming strengthened glass. The Agreement, however, never defines "Coming Technology" in


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terms of a glass-based article that practices or embodies any subject matter claimed in those

patents or applications. Instead, the Agreement includes within the definition of “Corning

Technology” only “the technology and information which is disclosed in” identified patents and

patent applications. Ex. A at §§ 1(d)–(f). This refers to process technology and information

related to finishing glass described within a patent specification, and not the claimed glass article

resulting from such a process. For example, the Agreement references U.S. Patent Application

No. 62/266,411 (“US-411”). US-411 discloses, inter alia, the following technology and

information related to finishing glass:

       -   Ion-exchange processes and materials and conditions used in those processes. D.I. 1,
           Ex. 2 at [0071]–[0073].

       -   Processes for forming fracture-resistant glass-based articles, again including materials
           and conditions. Id. at [00169]–[00172].

       -   Process parameters for ion-exchange and chemical treatment for producing glass-
           based articles with certain properties. Id. at [00174]–[00198].

Thus, “Corning Technology” as defined in the Agreement does not include glass-based articles

that embody or practice the claims of any Corning patents.

       The Complaint itself further acknowledges that the Agreement defines “Corning

Technology” in terms of know-how, processes, formulae, and other teachings—and not glass-

based articles. For example, the Complaint states the following:

       -   “Corning agreed to teach Jingbo its proprietary technologies—which are defined in
           the agreement as ‘Corning Technology’—so that Jingbo could use those
           technologies to finish Corning Gorilla Glass.” D.I. 1 at ¶ 34 (emphasis added).

       -   “Corning transferred its ‘GG5 ion exchange and metrology processes’ to Jingbo.”
           Id. at ¶ 45 (emphasis added).

       -   “The trade secrets and technology that Corning disclosed to Jingbo for use in
           finishing Gorilla Glass 5 are covered under the definition of ‘Corning Technology’ in
           the Agreement.” Id. at ¶ 50 (emphasis added).



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       These examples describe processes or technology used to finish glass. Glass articles

themselves cannot be used to finish glass. This evidences the parties’ understanding that

“Corning Technology” is limited to processes used to manufacture or finish glass, and does not

extend to the glass-based articles themselves.

               The Agreement Allows Corning to Ensure That Jingbo Exercises
               “Reasonably Prudent and Diligent Efforts to Protect Corning Technology
               from Further Disclosure and/or Misuse”

       The Agreement requires Jingbo to maintain the proprietary and confidential nature of the

“Corning Technology.” Jingbo agreed to protect the “Corning Technology . . . from further

disclosure or misuse . . . in the same manner as it protects its own trade secrets, but in any event

. . . [to exercise] reasonable care . . . to protect such technology from further disclosure or

misuse.” Ex. A at § 3(b)(iv). And Jingbo agreed that “Corning and its representatives shall have

the right to review and inspect [Jingbo]’s operations and security procedures to ensure [it] is

using reasonably prudent and diligent efforts to protect Corning Technology from further

disclosure and/or misuse.” Id. at § 3(b)(v) (emphasis added). The Agreement does not grant

Corning free rein to inspect Jingbo’s facility.

               Corning’s Breach of Contract Allegations

       Corning’s Complaint alleges that Jingbo breached the Agreement by: (1) misusing

Corning Technology to finish non-Corning cover glass (D.I. 1 at ¶ 70); and (2) refusing

Corning’s request to review and inspect Jingbo’s operations and security procedures for further

misuse and/or unauthorized disclosure of Corning Technology (id. at ¶ 75).

       Corning’s first breach of contract theory relies on testing of non-Corning glass used in

Vivo Smartphones that purportedly “indicate[s] that Jingbo has furnished non-Corning cover

glass using Corning Technology in at least two respects.” Id. at ¶ 55. Corning alleges that the

non-Corning glass uses “Corning Technology” described in “multiple Corning patents”—U.S.

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Patent No. 9,908,811 B2 (“US ’811 patent”) and China Utility Model Patent No. CN206986034

(“CN ’034 patent”)—“whose disclosures are included within the definition of Corning

Technology under the Agreement.” See id. at ¶¶ 55–58. Corning also alleges that the glass

tested “has stress profile and performance characteristics that match those obtained from

finishing cover glass with Corning Technology.” Id. at ¶ 59. And Corning alleges that “Jingbo

is using Corning Technology to increase its efficiency and yield in finishing non-Corning cover

glass.” Id.

       Corning’s factual allegations, however, do not support those conclusions. For example,

Corning alleges its testing of cover glass for Vivo smartphones supports its conclusions. Id. at

¶¶ 10, 55. But Corning failed to plead: (a) facts identifying the testing it conducted or the actual

test results; (b) facts about the processes or methods Jingbo allegedly employed to prepare the

Vivo cover glass; (c) that using “Corning Technology” is the only way to make glass having the

stress profile and performance characteristics recited in its patent claims; or (d) that any property

recited in its patent claims is a unique marker or identifier of “Corning Technology.” Thus,

Corning’s conclusory allegations are insufficient to support its claim that Jingbo has misused the

“Corning Technology.”

       Corning also alleges that Jingbo breached the Agreement’s inspection provision by

refusing to allow Corning “to review and inspect Jingbo’s operations and security procedures for

further misuse and/or unauthorized disclosure of Corning Technology.” Id. at ¶ 75. But

Corning’s allegation of “refusal” is unsupported. Moreover, the Agreement, which permits

inspection “to ensure [Jingbo] is using reasonably prudent and diligent efforts to protect

Corning Technology from further disclosure and/or misuse” (Ex. A at § 3(b)(v) (emphasis

added)), does not grant Corning free rein to conduct the                           requested in its



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Notice Letter to Jingbo. Because Corning’s allegation of “refusal” is unsupported, and because

Jingbo had no obligation to allow Corning’s                               of its facilities, Jingbo has

not breached the Agreement’s “review and inspection” provision and the Court should dismiss

Count II of the Complaint.

                Service of Corning’s Complaint

        Corning filed its Complaint against Jingbo on December 3, 2018. D.I. 1. On February

22, 2019, Corning initiated a formal request with the Chinese Ministry of Justice to serve the

Complaint on Jingbo pursuant to the Hague Convention. D.I. 7 at 1, Ex. 2. On December 16,

2019, Corning moved the Court to permit service of the Complaint by e-mail to Jingbo’s General

Manager and Purchasing Manager. D.I. 7. The Court granted Corning’s motion on January 15,

2020, and ordered that Corning’s December 10, 2018 e-mails to Jingbo attaching the Summons

and Complaint constituted service. D.I. 9. However, as explained below, Corning’s e-mail

service was invalid because it was inconsistent with the methods for service enumerated in the

Hague Convention.

        THE COMPLAINT FAILS TO STATE A CLAIM FOR RELIEF

                Legal Standards

        “To survive a motion to dismiss [under Rule 12(b)(6)], a complaint must contain

sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Iqbal, 556 U.S. at 678 (2009) (quoting Twombly, 550 U.S. at 570). Although a court must accept

as true all factual allegations contained in a complaint, that requirement does not apply to legal

conclusions. Id. at 678–79. The pleadings must include non-conclusory factual allegations to

support the legal claims asserted. Id. “Threadbare recitals of the elements of a cause of action,

supported by mere conclusory statements, do not suffice.” Id. at 678 (citing Twombly, 550 U.S.

at 555).

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       “A claim has facial plausibility when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged.

The plausibility standard is not akin to a ‘probability requirement,’ but it asks for more than a

sheer possibility that a defendant has acted unlawfully.” Id. (quoting Twombly, 550 U.S. at 556)

(internal citations omitted). Determining whether a complaint contains a plausible claim for

relief is “a context-specific task that requires the reviewing court to draw on its judicial

experience and common sense.” Id. at 679.

       “Where there is no ambiguity to a contract and ‘the intent of the parties can be

determined from the face of the agreement, interpretation is a matter of law,’ and a claim turning

on that interpretation may be resolved on a motion to dismiss.” First Serv. Fin. Inc. v. City

Lights at Queens Landing, Inc., No. 8-3312, 2009 WL 750190, at *2 (S.D.N.Y. Mar. 20, 2009)

(internal citation omitted). “Ambiguity exists when a material contract term or clause is

susceptible of ‘more than one meaning when viewed objectively by a reasonably intelligent

person who has examined the context of the entire integrated agreement and who is cognizant of

the customs, practices, usages and terminology as generally understood in the particular trade or

business.’” Id. (internal citation omitted).

       An accusation that test results are consistent with the use of a particular method, without

factual allegations that the particular “method is the only way in which to produce [a result],” is

insufficient to overcome a motion to dismiss. Panduit Corp. v. Corning Inc., No. 18-229 (FL),

2019 WL 189817, at *4 (E.D.N.C. Jan. 14, 2019). While circumstantial evidence may be used to

demonstrate patent infringement, the evidence must still indicate that infringement actually

occurred. That is, a patentee must “either point to specific instances of direct infringement or

show that the accused device necessarily infringes the patent in suit.” SRI Int’l Inc. v. Internet



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Sec. Sys., Inc., 647 F. Supp. 2d 323, 336 (D. Del. 2009) (quoting ACCO Brands v. ABA Locks

Manuf. Co., 501 F.3d 1307, 1313 (Fed. Cir. 2007) (emphasis added).

               Argument

               1.      The Court Should Dismiss Corning’s Complaint Because it Fails to
                       Make Any Factual Allegations That Jingbo Necessarily Used
                       “Corning Technology” to Finish Non-Corning Glass

       The Agreement limits “Corning Technology” to Corning’s proprietary technology,

including trade secrets, know-how, processes, formulae, and other teachings used to make glass

with improved properties. Corning Technology does not extend to glass articles themselves,

regardless of how they are made, and regardless of their properties. Corning did not plead

factual allegations that permit a reasonable inference that glass-based articles exhibiting the

properties recited in Corning’s patent claims necessarily were made using “Corning

Technology.” Thus, Corning has failed to allege facts sufficient to support its claim that Jingbo

has misused “Corning Technology.” The Court therefore should dismiss Count I of the

Complaint.

                       a.      The Term “Corning Technology” Refers to Methods for Making a
                               Glass Article with Improved Properties, Not the Glass Article Itself

       The Agreement defines “Corning Technology” through other defined terms: “Corning

Know-How, Corning’s Improved Impact Resistance Technology, Corning’s Improved

Component Level Impact Resistance/Drop Performance Technology,

                                                      , as defined above.” Ex. A at § 1(h). The

Agreement in turn defines each of those terms using the common refrain “know-how, processes,

formulae, and other teachings” to strengthen glass. Id. at §§ 1(c)–(h). In addition to the

definitions, when discussing the parties’ respective obligations, the Agreement uses the term

“Corning Technology” to refer to know-how, processes, formulae, and other teachings—not to

glass-based articles. The Agreement states, for example, that:

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        (a)      Jingbo "has the capability to edge, cut and generally perform finishing services."
                 Id. at 1 (emphasis added).

        (b)      Coming will transfer "Coming Technology to enable [Jingbo] to perform the
                 services requested." Id. at§ 3(a).

       The Agreement unambiguously indicates the parties ' understanding that "Coming

Technology" refers to methods or processes, not the resulting glass-based aiticles. The Comt

should interpret the te1m "Coming Technology" consistent with that understanding. AEI Life

LLC v. Lincoln Benefit Life Co. , 892 F.3d 126, 132 (2d Cir. 2018) ("Under New York law ...

' contracts should be inte1preted so as to effectuate the paities' intent.'") (internal citations

omitted).

        Fmther, the Complaint consistently refers to Coming Technology as processes or actions

Jingbo would perform to make and finish Coming's glass:

              "Coming agreed to teach Jingbo its proprietaiy technologies-which ai·e defined in
              the agreement as 'Coming Technology'- so that Jingbo could use those
              technologies to finish Coming Gorilla Glass." D.I. 1 at~ 34 (emphasis added) .

              "Coming transfe1Ted its ' GG5 ion exchange and metrology processes' to Jingbo."
              Id. at ~ 45 (emphasis added).

              "The trade secrets and technology that Coming disclosed to Jingbo for use in
              finishing Gorilla Glass 5 are covered under the definition of ' Coming Technology' in
              the Agreement." Id. at ~ 50 (emphasis added).

        Fmthe1more, Coming 's pre-suit conespondence




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II
         Thus, the Agreement, Coming 's allegations, and Coming's pre-suit conespondence

reflect the parties ' understanding that "Coming Technology" refers to methods or processes for

finishing glass-not glass-based articles themselves.

                        b.      Coming 's Allegations About Its Patents Fail to Support Its Breach
                                of Contract Claim

         Coming 's allegations about its patents are not relevant and do not suppo1i its breach of

contract claim. Coming alleges that "patented Coming Technology that Coming shared with

Jingbo is covered under the definition of 'Coming Technology' in the Agreement." D.I. 1 at

~   51 (citing Ex. A at§ l(h), 3). But that allegation misrepresents the unambiguous scope of the

Agreement. Section 1( e) of the parties ' Agreement, on which Coming relies, defines the tenn

"Coming's Improved Component Level Impact Resistance/Drop Perfo1mance Technology" as

"Coming's proprietaiy technology, including trade secrets, know-how, processes, fo1mulae, and




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other teachings, related [to]4 glass articles which exhibit improved component level impact

resistance/drop performance.” Ex. A at § 1(e). Thus, the “Corning Technology” relates to how

to make glass articles; it does not relate to the glass articles themselves. Pursuant to Section 1(e),

the definition “includes, but is not limited to the technology and information which is

disclosed” in certain Corning patents and patent applications. Id. (emphasis added). Again, this

references technology and information relating to how to make glass articles; it does not relate to

the glass articles themselves. Section 1(e) in no way expands the definition of “Corning

Technology” to include glass-based articles that have properties recited in Corning patent claims.

       Section 3(b)(iii) of the Agreement affirms that the definition in Section 1(e) does not

include glass-based articles with properties recited in Corning patent claims. It states that Jingbo

“may use Corning’s Improved Component Level Impact Resistance/Drop Performance

Technology only on Corning glass.” Id. at § 3(b)(iii) (emphasis added). The referenced

technology cannot include glass based articles because Jingbo could not use a glass-based article

on glass supplied by Corning.

       Corning also alleges that, based on testing it conducted, Vivo cover glass “meets each of

the requirements of” claims from Corning patents. D.I. 1 at ¶¶ 57–58. But whether that is true is

not pertinent to Corning’s breach of contract claim because the Agreement is directed to

technology used to make glass-based articles, not the articles themselves. As explained below,

Corning failed to allege any facts showing that Jingbo necessarily used “Corning Technology” to

finish non-Corning glass. Moreover, breach of contract and patent infringement are separate

causes of action; and Corning did not plead patent infringement.




4
 As explained above, Corning recognizes that this is the correct reading of Section 1(e) of the
Agreement. Supra II.A.
                                                 13
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                       c.      Corning Failed to Allege Any Facts Showing That Jingbo
                               Necessarily Used “Corning Technology” to Finish Non-Corning
                               Glass

       Corning did not allege any facts that would permit a reasonable inference that Jingbo

necessarily used “Corning Technology” to finish non-Corning glass. Corning conclusorily

alleges that testing of Vivo smartphone glass “indicates that it was finished using such Corning

Technology” because it allegedly has the improved properties of the glass claimed in Corning’s

patents (id. at ¶¶ 56–58) and a stress profile and performance characteristics that match those

obtained from finishing cover glass with Corning Technology (id. at ¶ 59). But “Corning

Technology” refers only to methods and processes to make strengthened or impact-resistant

glass, not the glass-based articles themselves. Supra II.A. Moreover, Corning’s test results do

not evidence that Jingbo used “Corning Technology” to finish non-Corning glass because

Corning has not alleged that the use of “Corning Technology” is the only way to achieve the

properties of the Vivo glass that Corning tested.

       Corning offers no factual allegations as to why glass that “has stress profile and

performance characteristics that match those obtained from finishing cover glass with Corning

Technology” necessarily means that the glass was finished with Corning Technology. D.I. 1 at

¶ 59. Corning attempts to rely on an inference of patent infringement based on conclusory

allegations that its undisclosed testing indicates that Vivo glass meets the requirements of

Corning patent claims. Supra III.B.1.b. Corning’s allegations are insufficient because Corning

did not allege (a) that any method or process disclosed in its patents or that Corning provided to

Jingbo is the only way to make the glass-based articles recited in its patent claims, or (b) that the

properties recited in its patent claims are unique identifiers or markers for “Corning

Technology.”



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       The Complaint twice refers to allegedly “unique” stress profiles. D.I. 1 at ¶¶ 28, 30.

First, in a description of “Gorilla Glass innovations,” Corning states that “Corning’s patented and

proprietary finishing technologies impart these unique stress profiles to Gorilla Glass products to

help make them exceptionally durable and damage resistant.” Id. at ¶ 28. Second, in the

discussion of U.S. Patent No. 9,908,811 B2, Corning cites portions of the patent that refer to the

allegedly unique stress profiles. Id. at ¶ 30. Regardless of whether the stress profile for

Corning’s Gorilla Glass is “unique” or different from stress profiles for other glass, there often

are many ways to achieve the same result—even a purportedly unique result. Notably, Corning

never alleges, or establishes, as it must, that using “Corning Technology” is the only way to

achieve the purportedly unique stress profiles. In addition, Corning does not allege that the Vivo

glass it tested has the allegedly “unique stress profiles” found in Corning’s Gorilla Glass. Rather

Corning only alleges that: (1) the tests show that the glass meets certain patent claims; (2) the

tests “indicate[]” that the Vivo glass was finished with “Corning Technology”; and (3) the glass

has a “stress profile and performance characteristics that match those obtained from finishing

cover glass with Corning Technology.” Id. at ¶¶ 56–60. Further, Corning has not alleged that

the “unique” properties imparted by its “patented and proprietary finishing techniques” are the

same properties recited in the Corning patent claims referenced in the Complaint.

       The Complaint also lacks factual allegations sufficient to support Corning’s conclusory

statements. Corning’s only factual support is purported testing of Vivo phone glass. Corning,

however, failed to plead factual allegations about the processes Jingbo allegedly employed to

finish the Vivo glass or showing that Jingbo used “Corning Technology” to finish the Vivo glass.

Moreover,




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                               Neve1theless, Coming left those necessaiy but unsuppo1table

allegations out of the Complaint, and thereby failed to state a claim for breach of contract.

       Finally, Coming 's concluso1y allegations ai·e also insufficient to overcome a motion to

dismiss a claim for patent infringement. 5 Panduit Corp. , 2019 WL 189817, at *4 .

       For all of these reasons, this Court should dismiss Coming 's threadbai·e claim that Jingbo

has misused Coming Technology.

               2.       Count II of Corning's Complaint Should Be Dismissed Because
                        Corning's Inspection Request Exceeds What the Agreement Permits

       Coming also failed to adequately plead breach of contract based on the Agreement's

inspection provision. Coming's allegation that Jingbo "refused Coming's requests" for an

inspection is unsuppo1ted. See D.I. 1 at ~ 62. Indeed, Jingbo never expressly refused Coming's

requests.

       Moreover, even had Jingbo expressly refused Coming 's request for an inspection (which

it did not), Coming's                           request far exceeded the scope of inspection


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  Comts analyze patent-infringement allegations using the same Twombly/Iqbal stan dai·d as
breach of contract allegations. See Panduit Corp. , 2019 WL 189817, at *3 ("To meet this
standard, a complaint must contain 'sufficient factual matter, accepted as tme, to state a claim to
relief that is plausible on its face."' (quoting Iqbal, 556 U.S . at 663 (citation and quotation mai·ks
omitted))).
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permitted by the Agreement. The Agreement states that Jingbo “shall protect[] [Corning

Technology] from further disclosure or misuse . . . in the same manner as it protects its own trade

secrets, but in any event reasonable care must be taken to protect such technology from further

disclosure or misuse.” Ex. A at § 3(b)(iv). The inspection provision states, “Corning and its

representatives shall have the right to review and inspect [Jingbo]’s operations and security

procedures to ensure that Finisher is using reasonably prudent and diligent efforts to protect

Corning Technology from further disclosure and/or misuse.” Id. at § 3(b)(v) (emphasis added).

The inspection provision does not grant Corning free rein to inspect Jingbo’s facilities, as

Corning’s allegations imply. Id. Rather, it limits Corning’s rights to inspecting Jingbo’s

“operations and security procedures” to ensure that Jingbo is using “reasonably prudent and

diligent efforts” to protect “Corning Technology.” Id. That includes ensuring that Jingbo has

implemented proper protocols to protect “Corning Technology,” such as video surveillance,

restricted access for authorized personnel only to areas where Jingbo uses or stores “Corning

Technology,” and password protection for access to electronic files about “Corning

Technology.”




   Jingbo has never refused to allow Corning to review and inspect Jingbo’s efforts (operations

and security procedures) to protect “Corning Technology,” and therefore has not breached the

Agreement.

       For these reasons, the Court should dismiss Count II of Corning’s Complaint for failure

to state a claim for breach of contract.




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       CORNING’S E-MAIL SERVICE OF THE COMPLAINT WAS IMPROPER

       Federal Rule of Civil Procedure 4(f) allows a Plaintiff to serve an individual in a foreign

country by “internationally agreed means of service,” such as the Hague Convention (Fed. R.

Civ. P. 4(f)(1)), or “by other means not prohibited by international agreement, as the court

orders” (Fed. R. Civ. P. 4(f)(3)) (emphasis added). Corning’s e-mail service of the Complaint

fails to comply with Rule 4(f)(3) because it is prohibited by the relevant international agreement,

the Hague Convention.

       “The Hague Service Convention specifies certain approved methods of service and ‘pre-

empts inconsistent methods of service’ wherever it applies.” Water Splash Inc. v. Menon, 137

S. Ct. 1504, 1507 (2017) (quoting Volkswagenwerk Aktiengesellschaft v. Schlunk, 486 U.S. 694,

699 (1988). The Hague Convention permits service only by the following means: via a central

authority (Articles 2-7); diplomatic and consular agents (Article 8); mail or through a judicial

official of the State of destination, if the destination State does not object (Article 10). See Water

Splash Inc., 137 S. Ct. at 1508 (reviewing permitted service methods). In addition, “Article 11

provides that any two states can agree to methods of service not otherwise specified in the

Convention” and “Article 19 clarifies that the Convention does not preempt any internal laws of

its signatories that permit service from abroad via methods not otherwise allowed by the

Convention.” Id.

       The Hague Convention is silent regarding service by e-mail. However, e-mail service is

inconsistent with the Convention’s enumerated methods, and therefore prohibited. Anova

Applied Elecs., Inc. v. Hong King Grp., Ltd., No. 17-12291 (FDS), 2020 WL 419518, at *6 (D.

Mass. Jan. 24, 2020); Luxottica Grp. S.p.A. v. P’ships & Unincorporated Ass’ns Identified on

Schedule “A”, 391 F. Supp. 3d 816, 827 (N.D. Ill. 2019) (“Because email would bypass the

methods of service the Hague Convention authorizes, the Convention preempts it as

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inconsistent.”). In Anova, the court reasoned that Articles 11 and 19 of the Hague Convention

suggest that the authorized means of service preempt any inconsistent methods because these

provisions “leave countries free to consent, either unilaterally or together, to means of service

that are not specifically authorized by the Convention,” which “would hardly be necessary if the

Convention generally permitted any means of service that are not explicitly authorized or

prohibited by its text.” Anova, 2020 WL 419518, at *6. The court further explained that “[i]f the

Convention left parties free to serve each other by e-mail, it is hard to see why they would ever

choose slower, more costly methods. The parties to the Convention could hardly have intended

that result; it is unlikely that they desired that the enumerated methods of service they agreed to

could be superseded as soon as any new means of service became available.” Id. Therefore,

e-mail service is not permitted under the Hague Convention unless China has consented to such

service, which it has not.

       The cases cited by Corning in its motion for alternative service do not compel a different

result. See D.I. 7 at 9-10. Those courts evaluated the e-mail service issue through the lens of

Article 10(a) of the Convention, which states that “[p]rovided the State of destination does not

object, the present Convention shall not interfere with . . . the freedom to send judicial

documents, by postal channels, directly to persons abroad.” Hague Convention, art. 10(a).

Courts have split on whether China’s objection to this Article includes an objection to e-mail

service based on differing interpretations of the term “postal channels.” See Anova, 2020 WL

419518, at *4-5 (collecting cases). But “[e]ven if China’s objection to Article 10(a) does not by

itself preclude e-mail service, it is a separate question whether the Hague Convention

nonetheless prohibits a means of service that is not explicitly addressed by its terms.” Id. at *5

(citing Luxottica, 391 F. Supp. 3d at 825). The cases cited by Corning do not reach this separate



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question, which must be answered in the affirmative—the Hague Convention prohibits e-mail

service because it is inconsistent with its authorized methods of service.

       For these reasons, Corning’s service of the Complaint via e-mail violates Rule 4(f)(3),

which necessitates dismissal of the Complaint under Rule 12(b)(5) for insufficient service of

process.

       CONCLUSION

       For the foregoing reasons, Jingbo respectfully requests that the Court dismiss with

prejudice Counts I and II of the Complaint based on Corning’s failure to state a claim and

improper service of the Complaint.


                                                   Respectfully submitted,

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